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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                   _________________
                                       Alexandria    Division


In re Abiye Tekle                                            Case No. 14-14244-BFK


                                 Debtor(s)                   Chapter 7


                        ORDER FOR RETURN OF UNCLAIMED FUNDS


       A Motion for Return of Unclaimed Funds having been filed pursuant to Local
Bankruptcy Rule 3011-1, said motion having been served on the United States Trustee and the
United States Attorney for the Eastern District of Virginia and there being no objections filed; it
is

        ORDERED that the unclaimed funds in the amount of $ 3424.36                                ,
currently on deposit with the Treasury of the United States, be returned to:
         Abiye Tekle
         5412 Richenbacker Ave. Apt.101
         Alexandria, VA 22304




      Let the Clerk give notice of entry of this order to the debtor(s), attorney for debtor(s),
movant, attorney for movant, if applicable, trustee and United States Trustee.




       Mar 16 2020
Date: __________________________                /s/ Brian F. Kenney
                                               _______________________________________
                                               United States Bankruptcy Judge


                                               NOTICE OF JUDGMENT OR ORDER
                                               ENTERED ON DOCKET:
                                               _____________________
                                                 March 16, 2020

pc: Financial Administrator



[ounclmfd ver. 03/06]
